                                      CASE 0:21-cr-00238-ADM-TNL Doc. 17 Filed 02/11/22 Page 1 of 1

                                                   IN THE UNITED STATES DISTRICT COURT
                                                      FOR THE DISTRICT OF MINNESOTA

                                                       INITIAL APPEARANCE
UNITED STATES OF AMERICA,                                    )             COURTROOM MINUTES - CRIMINAL
                                                             )                 BEFORE: David T. Schultz
                                          Plaintiff,         )                   U.S. Magistrate Judge
                                                             )
   v.                                                        )     Case No:              21-cr-238 ADM/TNL
                                                             )     Date:                 February 11, 2022
Rasson Valentine (3),                                        )     Video Conference
                                                             )     Time Commenced:        1:04 p.m.
                                          Defendant,         )     Time Concluded:        1:11 p.m.
                                                                   Time in Court:         7 minutes


APPEARANCES:
   Plaintiff: Sarah Hudleston, Assistant U.S. Attorney
   Defendant: Keala Ede, Assistant Federal Public Defender
                          X FPD          X To be appointed

   Date Charges Filed: 11/10/2021                           Offense: aiding and abetting conspiracy to utter and pass counterfeit
                                                                                  obligations
   X Advised of Rights

on          X Indictment

X Government moves for detention.
Motion is X granted, temporary detention ordered


Next appearance date is February 15, 2022 at 2:00 p.m. via video conference before U.S. Magistrate Judge Elizabeth
Cowan Wright for:
 X Detention hrg        X Arraignment hrg


X Government moves to unseal the case.                      X Granted

Additional Information:
X Defendant consents to this hearing via video conference.
X Oral Rule5(f) Brady notice read on the record.
                                                                                                        s/SAE
                                                                                                      Signature of Courtroom Deputy




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